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 5
     Attorney for: Plaintiff Olivier Chaine
 6
 7                         UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9
     OLIVIER CHAINE, an Individual;)
10                                 )             Case No.: 2:15-cv-6415
                                   )
11         Plaintiff,              )
                                   )             COMPLAINT FOR DAMAGES:
12         vs.                     )
                                   )
13   TRANSUNION LLC and DOES 1-10, )             1. FAIR CREDIT REPORTING ACT;
     Inclusive,                    )
14                                 )
           Defendants.             )
15                                 )             JURY TRIAL DEMANDED.
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16                                 )
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     Plaintiff alleges:
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           1. Plaintiff OLIVIER CHAINE (“Plaintiff”) is a resident of Los Angeles
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     County, State of California.
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           2. Defendants TRANSUNION LLC (“TRANSUNION”) is a business
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     entity, form unknown, doing business in the State of California as credit bureau
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     which receives negative credit information about consumers and which then
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     publish such information in credit reports available to its subscribers. Citi
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     Commercial Lending (“CCL”) is a creditor which, among other activities, reports
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                                           1 DAMAGES
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 1   allegedly delinquent debts to credit bureaus and is a “furnisher” under the Fair
 2   Credit Reporting Act.
 3         3. Defendants DOES 1-10 are individuals and business entities, form
 4   unknown, doing business in the State of California as credit reporting agencies,
 5   debt collection agencies, creditors or other persons or entities which engage in
 6   credit reporting and/or debt collection. DOES 1-10, Inclusive, includes
 7   individuals or business entities doing business in the State of California as credit
 8   reporting agencies, debt collectors and/or creditors who have refused to delete
 9   accounts of plaintiff that were procured through identity theft, mixed file or other
10   manner of recording an inaccurate credit account, even after plaintiff has notified
11   them of the false or inaccurate derogatory, and also who have reported such
12   accounts as derogatory credit references to credit reporting agencies.
13         4. Plaintiff does not know the true names and capacities, whether corporate,
14   partnership, associate, individual or otherwise of Defendants sued herein as Does
15   1 through 10, inclusive, under the provisions of Section 474 of the California
16   Code of Civil Procedure. Plaintiff is informed and believes and on that basis
17   alleges that Defendants Does 1 through 10, inclusive, are in some manner
18   responsible for the acts, occurrences and transactions as officers, directors or
19   managing agents of Defendants or as its agents, servants, employees and/or joint
20   venturers and as set forth in this complaint, and that each of them are legally liable
21   to Plaintiff, as set forth below and herein:
22         a) Said Officers, directors or managing agents of Defendants personally
23   acted willfully with respect to the matters alleged in this complaint;
24         b) Said officers, directors or managing agents of Defendants personally
25   authorized, approved of, adopted and/or ratified the acts alleged herein or the
26   agents, servants, employees and/or joint venturers of Defendants did so act;
27         c) Said officers, directors or managing agents of Defendants personally
28   participated in the acts alleged herein of Defendants;
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 1         d) Said Officers, directors or managing agents of Defendants personally had
 2   close supervision of their agents, servants, employees and/or joint venturers of
 3   Defendants;
 4         e) Said Officers, directors or managing agents of Defendants personally
 5   were familiar with the facts regarding the matters alleged herein;
 6         f) Said Officers, directors or managing agents of Defendants personally
 7   failed to investigate the circumstances appertaining to the acts alleged herein.
 8   They also failed and refused to repudiate the herein alleged actions and failed to
 9   redress the harm done to Plaintiffs. Further, said Officers, directors, or managing
10   agents of Defendants failed and refused to punish or discharge the said agents,
11   servants, employees and/or joint venturers of Defendants, even after learning of
12   the acts of the agents, servants, employees and/or joint venturers of Defendants.
13   Plaintiffs will seek leave to amend this complaint to set forth the true names and
14   capacities of said fictitiously named Defendants as enumerated above, together
15   with appropriate charging allegations, when learned.
16         5. Plaintiff is informed and believes, and thereon allege that at all relevant
17   times herein each Defendant, whether actually or fictitiously named, was the
18   principal, joint venturer, agent, servant or employee of each other Defendant, and
19   in acting as such within the course, scope and authority of such relationship, took
20   some part in the acts and omissions hereinafter set forth, by reason of which each
21   Defendant is liable to Plaintiff for the relief prayed for in this complaint, and any
22   future amended complaint. Further, Plaintiff alleges that each act alleged herein,
23   whether by a named Defendants or fictitiously named Defendants or otherwise,
24   was expressly authorized or ratified, as these terms are used in California Civil
25   Code Section 3294(b), by each and every other Defendant herein, whether named
26   or fictitiously named.
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 1                               FIRST CAUSE OF ACTION
 2             [VIOLATION OF THE FAIR CREDIT REPORTING ACT
 3                             AGAINST ALL DEFENDANTS]
 4          6. Plaintiff re-alleges and incorporates all preceding paragraphs as though
 5   set forth in full in this cause of action.
 6          7. Plaintiff is a consumer as this term is defined by 15 U.S.C. Sec. 1681a(c)
 7   of the Fair Credit Reporting Act. TRANSUNION is a credit bureau defendant
 8   who is a “consumer reporting agency” as that term is defined in 15 U.S.C. Section
 9   1681a (f).
10          8. On or about December 2006 Plaintiff signed as guarantor on two lines of
11   credit with Citi Commercial Lending for his website development business, one
12   for $150,000 and another for $50,000. Plaintiff always remained current on his
13   monthly payments.
14          9. On or about February 2014, Plaintiff contacted Citi Commercial Lending
15   to begin settlement negotiations on his two business lines of credit. Citi
16   Commercial Lending and Plaintiff agreed to settle for 50% off the current balance
17   ($75k and $25k). It was agreed that Plaintiff would make monthly payments (12
18   and 6 respectively) and there would be no interest as long as he maintained
19   payments. Plaintiff never missed a payment. Also, he understood that there would
20   be no negative reporting applied as long as his payments were on time and paid in
21   full according to the agreed upon settlement.
22          10. On or about March 6, 2014, Plaintiff received an email from Brandon
23   Bond from Citi Commercial Lending stating that if a settlement were pursued it
24   would be reported as “settled for less than full amount” and a -0- balance if all
25   monthly payments were made on time.
26          11. On or about June 8, 2014, Plaintiff entered into a settlement agreement
27   with Citi Commercial Lending regarding his Account #201700085xxxx. The
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 1   agreement stated that Plaintiff would make 12 payments of $6,328.02 to satisfy his
 2   loan.
 3           12. On or about September 22, 2014, Plaintiff entered into a settlement
 4   agreement with Citi Commercial Lending regarding account #201700060xxxx.
 5   The agreement stated that Plaintiff would make 6 payments of $4,214.86 to satisfy
 6   the loan.
 7           13. On or about October 16, 2014 Plaintiff received a letter suspending his
 8   Home Equity Line Of Credit. The decision to suspend his line of credit was based
 9   in whole or in part on information that was obtained from his credit profile.
10           14. On or about October 27, 2014, Plaintiff sent two dispute letters to Citi
11   Commercial Lending , one for each account, stating that the information they were
12   reporting was inaccurate because the loan was being paid off according to the
13   agreed upon settlement agreement payment schedule. Plaintiff never received a
14   response to his letter.
15           15. On or about December 6, 2014, Plaintiff sent a dispute letter to
16   TRANSUNION disputing that he was ever late on his two Citi Commercial
17   Lending accounts (#201700060 and #201700085). Plaintiff also provided copies
18   of his credit reports and copies of his settlement agreement letters with Citi
19   Commercial Lending to assist them with their investigation.
20           16. On or about December 26, 2014, TRANSUNION credit report file
21   #341987244-007, reported that they investigated and removed the erroneous
22   information regarding Citi Commercial Lending, account #201800060 from
23   Plaintiff’s credit profile. Also, it was stated “if an item you disputed is not in the
24   list of results below, it was either not appearing in your credit file or it already
25   reflected the corrected status at the time of investigation”.
26           17. On or about December 26, 2014, TRANSUNION credit report file
27   #419878244, stated “the information disputed does not currently appear on your
28   TRANSUNION credit report”.
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 1         18. On or about July 31, 2015, Plaintiff discovered that TRANSUNION
 2   reinserted the derogatory Citi Commercial Lending account #201700085 with a
 3   Pay Status of Charged Off.
 4         19. Plaintiff complied with all requests of each of the Defendants to
 5   provide information in order to have the erroneous marks removed from his credit
 6   reports. Despite the insistence of Plaintiff, the Defendants, and each of them,
 7   failed to correct the errors and failed to undertake sufficient investigations upon
 8   being notified of the errors.
 9         20. Within the past several years, Defendants, and each of them, willfully
10   violated the provisions of the Fair Credit Reporting Act in at least the following
11   respects:
12         a. By willfully and negligently failing, in the preparation of the consumer
13   report concerning Plaintiff, to follow reasonable procedures to assure maximum
14   possible accuracy of the information in the report;
15         b. By willfully and negligently failing to correct, after receiving ample
16   notice, information about the Plaintiff which defendants knew, or should have
17   known, was incomplete and/or inaccurate;
18         c. By willfully and negligently failing to correct and/or delete the
19   incomplete and inaccurate information in Plaintiff’s file after conducting an
20   investigation;
21         d. By willfully and negligently failing to conduct an adequate investigation
22   of Plaintiff’s complaints, and by willfully and negligently failing to implement
23   corrective actions once the outcome of such investigations were known, or should
24   have been known, to the defendants;
25         e. By willfully and negligently failing to include in plaintiff’s report
26   plaintiff’s statement or statements of dispute.
27         f. Reinsertion violation against TransUnion: Plaintiff alleges that
28   TRANSUNION and DOES 1-10, Inclusive, willfully and negligently violated the
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 1   reinsertion requirements of 15 U.S.C. Section 1681i (a) (5) (B) in reinserting
 2   derogatory information onto plaintiff’s credit reports after he had previously
 3   disputed it, without certification or notice.
 4         21. As a proximate result of the actions of the Defendants, and each of
 5   them, Plaintiff has been damaged in an amount which will be proven at time of
 6   trial. As provided under the cited law, Plaintiff is entitled to actual damages, pain
 7   and suffering, punitive damages, penalties, costs and attorney fees.
 8         22. Plaintiff alleges that defendants, and each of them, have willfully
 9   violated FCRA with respect to Plaintiff and towards others similarly situated.
10   Specifically, defendants deliberately have inefficient procedures for correcting
11   their credit files, because they know that a certain number of consumers will either
12   be intimidated or too frustrated to continuously fight back against the constant
13   onslaught of collection activities for invalid debts. Defendants, and each of them,
14   know that a certain number of consumers would rather pay than fight, even if the
15   debt is not actually owed. These defendants know that their systems intimidate
16   consumers so they’ll pay debts even if not valid or not completely valid. These
17   facts were not disclosed to the Plaintiff and are not disclosed to the borrowing
18   public at large.
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21         WHEREFORE, Plaintiff prays for judgment as follows:
22         1. For general and special damages according to proof at trial;
23         2. For statutory penalties for each separate statutory violation where
24             allowed by statute;
25         3. For punitive damages against defendants according to proof at trial and
26   using the applicable punitive damages standards from the involved statutes;
27         4. For attorney’s fees where authorized by statute or law;
28         5. For costs of suit;
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 1        6. For such other relief as the court deems just and proper.
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 3        PLAINTIFF DEMANDS A JURY TRIAL
 4
 5   Dated: August 20, 2015         LAW OFFICES OF ROBERT F. BRENNAN, A P.C.
 6
                                    By: /s/ Robert F. Brennan
 7                                  Robert F. Brennan
 8                                  Attorneys for Plaintiff

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